Case 20-10343-LSS   Doc 1762-2   Filed 11/30/20   Page 1 of 18




                        Exhibit A

                      Proposed Order
                 Case 20-10343-LSS             Doc 1762-2        Filed 11/30/20         Page 2 of 18




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                 (Jointly Administered)
                              Debtors.
                                                                 Ref. Docket No. ___

           ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
        JLL VALUATION & ADVISORY SERVICES, LLC AS APPRAISER FOR THE
         DEBTORS AND DEBTORS IN POSSESSION WITH RESPECT TO CERTAIN
        LOCAL COUNCIL PROPERTIES, NUNC PRO TUNC TO NOVEMBER 30, 2020

             Upon the application (the “Application”)2 of the Debtors for entry of an order (this “Order”)

(i) authorizing the Debtors to retain and employ JLL Valuation & Advisory Services, LLC (“JLL”)

to provide appraisal and valuation services for the Subject Properties, effective as of November

30, 2020, pursuant to sections 327(a) and 328 of the Bankruptcy Code as modified by section

1107(b) of the Bankruptcy Code, Bankruptcy Rules 2014 and 6005, and Local Rule 2014-1, in

accordance with the terms of each of the Engagement Letter by and between the Debtors and JLL,

(ii) approving the terms of JLL’s retention and employment, including the fee and expense

structure and the indemnification provisions, as applicable, as modified by the Application and

this Order, and (iii) granting related relief; and upon consideration of the Declarations; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and entry of this Order being a core proceeding within the meaning of 28


1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.
            Case 20-10343-LSS          Doc 1762-2       Filed 11/30/20      Page 3 of 18




U.S.C. § 157(b)(2); and the Debtors having consented to the entry of a final order by this Court

under Article III of the United States Constitution; and venue of this proceeding and the

Application in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that the Debtors’ notice of the Application and opportunity for a hearing on the

Application were appropriate under the circumstances and no other notice need be provided; and

all objections to the Application, if any, having been withdrawn, resolved or overruled; and the

relief requested in the Application being in the best interests of the Debtors’ estates, their creditors

and other parties in interest; and this Court having determined that the legal and factual bases set

forth in the Application establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Application is GRANTED as set forth herein.

       2.      Pursuant to sections 327(a) and 328(a) of the Bankruptcy Code, Bankruptcy Rules

2014(a) and 6005, and Local Rule 2014-1, the Debtors are authorized to employ and retain JLL to

provide appraisal and valuation services for the Local Council Properties, nunc pro tunc to

November 30, 2020.

       3.      The terms of the Engagement Letter, attached hereto as Exhibit 1 and as modified

by this Order, are reasonable terms and conditions of employment and are hereby approved.

       4.      The requirement that JLL keep detailed time records of time spent for professional

services rendered in these chapter 11 cases pursuant to Local Rule 2016-2(d) is hereby waived;

provided, however, that JLL shall file a final application seeking the final allowance of

compensation for appraisal services rendered to the Debtors, with a summary of fees earned and

expenses incurred, in accordance with the applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and orders of this Court.



                                                   2
            Case 20-10343-LSS          Doc 1762-2       Filed 11/30/20      Page 4 of 18




       5.      Notwithstanding anything to the contrary in the Application or this Order, the fees

payable to JLL under the Engagement Letter shall be subject to review in accordance with the

standards set forth in section 328(a) of the Bankruptcy Code and shall not be subject to review

under section 330 of the Bankruptcy Code; provided, however, that notwithstanding the foregoing,

the U.S. Trustee may review the reasonableness of JLL’s fees requested in the final fee application

under section 330 of the Bankruptcy Code.

       6.      To the extent the Debtors enter into any additional engagement letters for the

provision of additional appraisal and valuation services by JLL outside the scope of the Local

Council Properties described in the Application, the Debtors shall file such agreements with the

Court and serve the applicable notice parties with copies of the same. To the extent any parties

object, within fourteen (14) days of such new agreements being served, to the additional services

to be provided by JLL, the Debtors shall promptly schedule a hearing before the Court. All

additional services shall be subject to the provisions of this Order.

       7.      Notwithstanding anything to the contrary in any of the Engagement Letter, the

Application, or the Declarations, the indemnification provisions are hereby modified as follows:

               (a)     JLL shall not be entitled to indemnification, contribution or reimbursement
                       pursuant to the Engagement Letter for services, unless such services and the
                       indemnification, contribution or reimbursement therefore are approved by
                       the Court;

               (b)     the Debtors shall have no obligation to indemnify JLL, or provide
                       contribution or reimbursement to JLL, for any claim or expense that is
                       either: (i) judicially determined (the determination having become final) to
                       have arisen from JLL’s gross negligence, willful misconduct, breach of
                       fiduciary duty, if any, bad faith or self- dealing; (ii) for a contractual dispute
                       in which the Debtors allege the breach of JLL’s contractual obligations
                       unless the Court determines that indemnification, contribution or
                       reimbursement would be permissible pursuant to In re United Artists
                       Theatre Co., 315 F.3d 217 (3d Cir. 2003); or (iii) settled prior to a judicial
                       determination as to JLL’s gross negligence, willful misconduct, breach of
                       fiduciary duty, or bad faith or self-dealing but determined by this Court,
                       after notice and a hearing to be a claim or expense for which JLL should

                                                   3
             Case 20-10343-LSS        Doc 1762-2       Filed 11/30/20      Page 5 of 18




                       not receive indemnity, contribution or reimbursement under the terms of the
                       Engagement Letter as modified by this Order; and

               (c)     if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                       in these cases (that order having become a final order no longer subject to
                       appeal), and (ii) the entry of an order closing these chapter 11 cases, JLL
                       believes that it is entitled to the payment of any amounts by the Debtors on
                       account of the Debtors’ indemnification, contribution and/or reimbursement
                       obligations under an Engagement Letter (as modified by this Order),
                       including without limitation the advancement of defense costs, JLL must
                       file an application therefore in this Court, and the Debtors may not pay any
                       such amounts to the Appraiser before the entry of an order by this Court
                       approving the payment. This subparagraph (c) is intended only to specify
                       the period of time under which the Court shall have jurisdiction over any
                       request for fees and expenses by JLL for indemnification, contribution or
                       reimbursement, and not a provision limiting the duration of the Debtors’
                       obligation to indemnify JLL. All parties in interest shall retain the right to
                       object to any demand by JLL for indemnification, contribution or
                       reimbursement.

       8.      JLL shall use its reasonable best efforts to avoid duplication of services provided

to any of the Debtors’ other retained professionals in these chapter 11 cases.

       9.      To the extent that there is any inconsistency between the terms of any engagement

letter approved herein, the Application, or this Order, the provisions of this Order shall govern.

       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                  4
Case 20-10343-LSS   Doc 1762-2   Filed 11/30/20   Page 6 of 18




                         Exhibit 1

                    Engagement Letter
                 Case 20-10343-LSS           Doc 1762-2       Filed 11/30/20        Page 7 of 18




                                                                                     Eric L. Enloe, MAI, CRE, FRICS
                                                                                                 Managing Director
                                                                                        200 E Randolph, 47th Floor
                                                                                                  Chicago, IL 60601
                                                                                                      312-252-8913
                                                                                            Eric.Enloe@am.jll.com

November 30, 2020

Steven McGowan
General Counsel and Secretary
Boy Scouts of America
1325 West Walnut Lane
Irving, TX, 75038

RE: Valuation & Advisory Services for the Property: Boy Scouts of America Portfolio – Property List TBD

Dear Mr. McGowan,

JLL Valuation & Advisory Services, LLC (JLL VA) is pleased to provide this proposal and engagement letter for
valuation and advisory services regarding the Property.


PROPERTY IDENTIFICATION: Boy Scouts of America Portfolio – Property List TBD

PROPERTY TYPE:          Office Buildings and Campgrounds

INTEREST APPRAISED:     Fee Simple

INTENDED USERS:         Boy Scouts of America, and such other users as may be designated and shared by
                        Boy Scouts of America in its sole discretion, who shall each be subject to the Order
                        Approving Confidentiality and Protective Order [Docket No. 799], In re Boy Scouts of
                        America and Delaware BSA, LLC, Case No. 20-10343 (LSS) (Bankr. D. Del. June 8,
                        2020) (the “Confidentiality and Protective Order”)

INTENDED USE:           Asset evaluation as part of a bankruptcy proceeding

VALUES PROVIDED:        As Is Market Value

VALUATION DATE:         Current

APPRAISAL STANDARDS:    Uniform Standards of Professional Appraisal Practice (USPAP) by the Appraisal
                        Foundation, the Code of Professional Ethics and Standards of Professional
                        Appraisal Practice of the Appraisal Institute

PROPERTY INSPECTION:    JLL VA will not conduct a physical inspection of the Property.

VALUATION APPROACHES:   All applicable approaches to value


                                                                                                                 1
                 Case 20-10343-LSS           Doc 1762-2          Filed 11/30/20        Page 8 of 18
                                                                           JLL Valuation & Advisory Services, LLC
                                                                          Boy Scouts of America | Engagement Letter


APPRAISAL REPORT:        Concise
                                              Base               Complex
FEE:
                               Office        $2,500          $3,000 to $6,000
                          Campground         $2,500          $3,000 to $8,000

EXPENSES:                The fee includes the expenses related to this engagement. There will be no
                         added charges for travel, delivery fees or report production costs

DELIVERY DATE:           3 weeks from receipt of sufficient information on the subject properties.
                         Delays in obtaining the data needed to complete this assignment or delays in
                         accessing the property for inspection (if applicable) may result in delays in the
                         date our analysis is completed and delivered.

DELIVERY METHOD:         A PDF of the report(s) will be delivered to the client contact identified on this
                         engagement letter. Two hard copies are available at client’s request.
                         Additional copies can be requested at $250 per copy. We will also provide an
                         excel summary of the values for the properties.

This engagement letter is subject to the General Terms and Conditions attached to this letter as Exhibit A, the
Statement of Assumptions and Limiting Conditions attached to this letter as Exhibit B.


We appreciate the opportunity to be of service. Providing white-glove service and the least amount of disruption
at the property is our top priority.

Sincerely,

JLL VALUATION & ADVISORY SERVICES, LLC




Eric L. Enloe, MAI, CRE, FRICS
Managing Director




                                                                                                                  2
               Case 20-10343-LSS   Doc 1762-2    Filed 11/30/20       Page 9 of 18
                                                          JLL Valuation & Advisory Services, LLC
                                                          Boy Scouts of America | Engagement Letter




AGREED AND ACCEPTED BY:
Boy Scouts of America


Signature                                 Date


Printed Name                              Email Address


Title                                     Phone Number




                                                                                                 3
              Case 20-10343-LSS                Doc 1762-2    Filed 11/30/20           Page 10 of 18
                                                                         JLL Valuation & Advisory Services, LLC
                                                                                    Boy Scouts of America | Exhibit A



                                                                    performance of the Services if caused by any
Exhibit A                                                           event beyond ou r reasonable control, or for any
Terms and Conditions                                                delay caused by your failure to comply with the
                                                                    agreement.

 1.    INTRODUCTION
                                                               5.   FEES, EXPENSES AND PAYMENT
1.1    These Terms and Conditions supplement the
                                                             5.1    Our fee in its entirety is earned upon delivery of
       proposal, agreement, letter of engagement or
                                                                    the first report. We will invoice you at time of
       email (the “engagement”) between JLL Valuation
                                                                    delivery for any outstanding balance, which
       and Advisory Services, LLC and the Client
                                                                    balance shall be subject to approval by the
       indicated in the engagement that sets out details
                                                                    Bankruptcy Court pursuant to a fee application.
       of the Services to be provided to the Client. All
                                                             5.2    You agree that your obligation to pay the Fee is
       capitalized terms in this exhibit have the
                                                                    not contingent upon the results, conclusions or
       meanings given to them in the engagement
                                                                    recommendations we provide.
       unless given a different meaning in this exhibit.
                                                             5.3    If we are asked to invoice any other party, you
       These Terms and Conditions, together with the
                                                                    agree to settle our invoice immediately if the
       engagement and all other exhibits, schedules and
                                                                    other party does not do so within 30 days of the
       riders to the engagement, are collectively called
                                                                    date of the invoice.
       the “agreement”.
                                                             5.4    Delinquent payments under the agreement will
                                                                    earn interest at the rate of one and one-half
 2.    SERVICES                                                     percent (1-1/2%) per month from the date due
2.1    We will provide the Services using reasonable care           until paid, or if lower, the maximum rate
       and skill.                                                   permitted by law. If the Fee or any part of it
2.2    We may make changes to the Services if necessary             remains unpaid 30 days after it was due, you may
       to comply with any law or safety requirement. We             not use any report or work product we have delivered to
       will notify you if that happens. Otherwise, JLL and          you for any reason.
       the Client must agree in writing to any changes to    5.5    If you terminate this agreement before the
       the Services, the Fees, or any other provision of            Services are completed, you will pay us, no later
       the agreement.                                               than the termination date, a reasonable fee
                                                                    proportionate to the part of the Services
                                                                    performed to the date of termination.
  3.   CLIENT OBLIGATIONS
                                                             5.6    Our rights under Section 5.3 and 5.4 are in
3.1    You agree to give us all documents and other
                                                                    addition to, and will not limit, our right to pursue
       information that we advise you are reasonably
                                                                    any other rights and remedies under the
       necessary for us to provide the Services.
                                                                    agreement or at law or in equity.
3.2    You will maintain adequate property and public
       liability insurance to reasonably insure property
       that you own or occupy and any activities on that      6.    INDEMNITY
       property. You will obtain all necessary licenses,            You agree to indemnify and defend us and hold us
       permissions and consents which may be required               harmless from any loss, liability or expense
       to enable us to perform the Services (other than             (including attorneys’ fees) arising from a third
       professional licenses that we are required to                party action, claim or proceeding (“Loss”) that we
       maintain to perform the Services). You are                   suffer arising out of the agreement or the Services,
       responsible to keep your property in a safe                  other than Loss that a court of competent
       condition so that we may perform the Services in             jurisdiction has determined was the result of our
       reasonable safety.                                           negligence or willful misconduct. We agree to
3.3    You will notify us promptly if you believe any               indemnify and defend you and hold you harmless
       information you have provided is incomplete or               from any Loss that you suffer arising out of our
       inaccurate.                                                  negligent performance of Services under the
                                                                    agreement, other than Loss that is found by a
                                                                    court of competent jurisdiction to result from your
 4.    DELAY
                                                                    negligence or willful misconduct.
       We are not responsible for any delay in our

                                                                                                                         4
              Case 20-10343-LSS               Doc 1762-2    Filed 11/30/20            Page 11 of 18
                                                                       JLL Valuation & Advisory Services, LLC
                                                                                   Boy Scouts of America | Exhibit A




 7.    EXCLUSIONS OF, AND LIMITATIONS ON,                          Stark or anti-kickback law compliance, and
       LIABILITY                                                   agree that any reports and work product we
7.1    EACH OF JLL AND THE CLIENT WAIVES ANY                       deliver make no opinion or representation that
       CLAIMS AGAINST EACH OTHER FOR LOSS OF                       any transaction involving property we appraise
       PROFITS, CONSEQUENTIAL, PUNITIVE,                           is compliant with Stark law or any anti-kickback
       EXEMPLARY OR SIMILAR DAMAGES IN                             law.
       CONNECTION WITH THE AGREEMENT. IN NO
       EVENT SHALL JLL’S LIABILITY IN CONNECTION             10. CONFIDENTIALITY
       WITH THE AGREEMENT EXCEED THE FEE PAID TO            10.1 We each agree to maintain the confidentiality of
       JLL HEREUNDER.                                            each other's confidential information and will
                                                                 not disclose any information received in
  8.   TERMINATION                                               confidence from each other, until two years after
8.1    Either of us may terminate the agreement                  termination or expiration of the agreement,
       without reason by giving 30 days' advance                 except where required to do so by law.
       written notice to the other.                         10.2 Any report or other work product that we deliver
8.2    Either of us may terminate the agreement                  to you in connection with the Services is
       immediately if the other breaches the                     confidential and may be used by only you and parties
       agreement and fails to remedy the breach within           that you share a report with, who in each will be subject
       10 days of notice by the non-breaching party.             to the Confidentiality and Protective Order
8.3    We may terminate the agreement immediately for            unless we agree otherwise in writing.
       any of the following reasons:
       (a) We cannot provide any of the Services due to      11. INTELLECTUAL PROPERTY RIGHTS
            conditions beyond our reasonable control.       11.1 We retain all copyright (and other intellectual
       (b) In our reasonable opinion, there is                   property rights) in all materials, reports, systems
            insufficient information available to provide        and other deliverables which we produce or
            a report or other work product that meets            develop for the purposes of the agreement, or
            our standards.                                       which we use to provide the Services.
       (c) A conflict of interest arises which prevents     11.2 You will not reproduce or copy any part of any
            us from acting for you.                              report or other work product we produce as part
       (d) You have asked us to provide reports or work          of the Services without our prior written consent.
            product that we do not consider to be
            accurate.
                                                             12. GENERAL
                                                            12.1   The agreement may be modified only by a
 9.    ASSUMPTIONS AND LIMITATIONS                                 written agreement signed by both of us. Liability
9.1    Any report or other work product we deliver as              accruing before the agreement terminates or
       part of the Services will be subject to our                 expires will survive termination or expiration.
       standard Statement of Assumptions and                12.2   The agreement states the entire agreement, and
       Limiting Conditions, provided as an exhibit and             supersedes all prior agreements, between you
       as part of the agreement, which will be                     and JLL with respect to the matters described in
       incorporated into the report or work product.               the agreement.
9.2    We understand that you may wish to use the           12.3   If a court determines that any part of the
       report or other work product we deliver as part             agreement is unenforceable, the remainder of
       of the Services to support your Stark law and               the agreement will remain in effect.
       Anti-Kickback compliance process. Our reports        12.4   The agreement is governed by the laws of the
       and work product are appraisals prepared                    State of Illinois. Each of us irrevocably submits
       pursuant to Uniform Standards of Professional               to the exclusive jurisdiction of the courts of that
       Appraisal Practice, and do not undertake to                 State.
       evaluate any such compliance. You                    12.5   The agreement may be executed in multiple
       acknowledge that many factors in addition to                counterparts.
       property value must be considered to determine

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              Case 20-10343-LSS                  Doc 1762-2   Filed 11/30/20          Page 12 of 18
                                                                        JLL Valuation & Advisory Services, LLC
                                                                                   Boy Scouts of America | Exhibit A




12.6  No director, officer, agent, employee or                     property. (ii) We and our affiliates may utilize,
      representative of either of us has any personal              sell and include data you have provided (either
      liability in connection with the agreement.                  in the aggregate or individually) in the databases
12.7 Neither of us may assign or transfer any rights or            of JLL and its affiliates and for use in derivative
      obligations under the agreement without the                  products. (iii) We may utilize all data already in
      prior written approval of the other. We each                 the public domain on an unrestricted basis.
      agree to be reasonable in evaluating such a             13.2 In order for us to provide the Services, we may
      request for approval.                                        need to record and maintain in hard copy
12.8 If there is any conflict between the terms of the             and/or in electronic form, information regarding
      letter and this exhibit, the terms of the letter will        the Client, its officers and any other individuals
      prevail.                                                     connected with the Client (collectively “Data
12.9 If either of us fails to enforce any provision or             Subjects”). We may also verify the identity of
      exercise any right under the Agreement at any                Data Subjects, which could include carrying out
      time, that failure will not operate as a waiver to           checks with third parties such as credit
      enforce that provision or to exercise that right at          reference, anti-money laundering or sanctions
      any other time.                                              checking agencies.
12.10 The agreement does not establish any                    13.3 We may use all information that we hold
      partnership or joint venture between us, or                  regarding Data Subjects to provide the Services.
      make either of us the agent of the other.                    We may also use and share it with third parties
12.11 A person who is not a party to the agreement                 for other purposes as described in our Privacy
      does not have any rights to enforce its terms                Statement available at www.jll.com. We may use
      unless specifically agreed in writing.                       both commercially available and proprietary
12.12 Neither of us may publicize or issue any specific            software programs to perform the Services (web
      information to the media about the Services or               based and others).
      the agreement without the written consent of
      the other.
                                                               14. SPECIAL EXPERTS
12.13 Each of us represents to the other that it is not a
                                                              14.1 If you request our assistance in hiring a special
      person or entity with whom U.S. entities are
                                                                   expert to contribute to any assignment (such as
      restricted from doing business under regulations
                                                                   a surveyor, environmental consultant, land
      of the Office of Foreign Asset Control (“OFAC”) of
                                                                   planner, architect, engineer, business, personal
      the Department of the Treasury (including those
                                                                   property, machinery and equipment appraiser,
      named on OFAC’s Specially Designated and
                                                                   among others), you will perform your own due
      Blocked Persons List) or under any statute,
                                                                   diligence to qualify the special expert. You will
      executive order or other governmental action.
                                                                   be responsible to pay for the services of the
      Each of us agrees to comply with all applicable
                                                                   special expert.
      laws, statutes, and regulations relating to anti-
                                                              14.2 We not responsible for the actions and findings
      bribery and anti-corruption.
                                                                   of any special expert. You agree to indemnify
12.14 If either party does not comply with the
                                                                   and defend us and hold us harmless from all
      obligations under the agreement and legal
                                                                   damages that may arise out of your reliance on
      action is commenced to enforce the rights under
                                                                   any special expert.
      the agreement, the faulty losses will reimburse
      the prevailing party reasonable costs (including
      attorneys’ fees), associated with such action.           15. CONFLICTS POLICY
      THE PARTIES HEREBY WAIVE TRIAL BY JURY.                        JLL adheres to a strict conflict of interest
12.15 Sections 5, 6, 7, 10, 11, 12.1, 13, 17 and 18 will             policy. If we learn of a conflict of interest, we
      survive termination of the agreement.                          will notify you and recommend a course of
                                                                     action to resolve the conflict. If we learn of a
                                                                     conflict that we do not believe can be resolved,
 13. USE OF DATA AND DATA PROTECTION
                                                                     we may terminate the agreement without
13.1 You agree as follows: (i) The data we collect in
                                                                     penalty.
       connection with the agreement will remain our


                                                                                                                         6
             Case 20-10343-LSS               Doc 1762-2   Filed 11/30/20         Page 13 of 18
                                                                    JLL Valuation & Advisory Services, LLC
                                                                              Boy Scouts of America | Exhibit A




 16. FIRREA REQUIREMENTS                                       engagement.
      Federal banking regulations require banks and       18.2 You will not use any such report or work product
      other lending institutions to engage appraisers          in connection with any public documents. You
      where FIRREA compliant appraisals must be                will not refer to JLL in any public documents
      used in connection with mortgage loans or other          without our prior written consent. We may give
      transactions involving federally regulated               or withhold our consent in our sole discretion for
      lending institutions. Given that requirement, any        any purpose under this Section 18.
      report produced by JLL under the agreement, if      18.3 Notwithstanding the foregoing, JLL understands
      ordered independent of a financial institution or        that applicable law in eminent domain
      agent, might not be FIRREA compliant or                  proceedings may require you to disclose our
      acceptable to a federally regulated financial            reports and work product to landowners and to
      institution.                                             otherwise make our reports and work product
                                                               available to the public. To the extent required
                                                               by applicable law, JLL consents to such
 17. USPAP REQUIREMENTS                                        disclosure. However, you and only you, and no
      The Ethics Rule of the Uniform Standards of              such landowner or other person or entity, may
      Professional Appraisal Practice (“USPAP”)                rely on our reports or our work product.
      requires us to disclose to you any prior services
      (appraisal or otherwise) performed within three
      years prior to the date of this letter by the        19. LITIGATION MATTERS
      individual JLL appraiser who will be performing     19.1 We are not required to testify or provide court-
      Services for the Property. We represent that to          related consultation or to be in attendance in
      our knowledge, that JLL has not provided prior           court unless we have agreed to do so in the
      services within the designated disclosure period,        agreement or otherwise in writing, or if required
      outside of what we have identified.                      by law.
                                                          19.2 If we receive a subpoena or other judicial
                                                               command to produce documents or to provide
 18. USE OF WORK PRODUCT AND RELIANCE                          testimony in a lawsuit or proceeding regarding
18.1 You agree that any report or other work product           the agreement, we will notify you if allowed by
      we produce in connection with the Services are           law to do so. However, if we are not a party to
      for your use only, and only for the purpose              these proceedings, you agree to compensate us
      indicated in the agreement. No person or entity          for our professional time at the then prevailing
      other than the Client may use or rely on any such        hourly rates of the personnel responding to the
      report or work product unless we consent                 subpoena or providing testimony, and to
      otherwise in writing, even if such reliance is           reimburse us for our actual expenses incurred in
      foreseeable. Any person who receives a copy of           responding to any such subpoena or judicial
      any report or other work product we produce as           command, including attorneys' fees, if any, as
      a consequence of disclosure requirements that            they are incurred.
      apply to the Client, does not become an
      intended user of this report unless the Client
      specifically identified them at the time of the      v. 02_27_2020




                                                                                                                    7
              Case 20-10343-LSS              Doc 1762-2          Filed 11/30/20         Page 14 of 18
                                                                                            JLL Valuation & Advisory Services
                                                                                                 Boy Scouts of America | Exhibit B




Exhibit B
Statement of Assumptions and Limiting Conditions

1.   All reports and work product we deliver to you (collectively called “report”) represents an opinion of value,
     based on historical information and forecasts of market conditions. Actual results may vary from those forecast
     in the report. There is no guaranty or warranty that the opinion of value reflects the actual value of the property.
2.   The conclusions stated in our report apply only as of the effective date of the appraisal, and no representation is
     made as to the effect of subsequent events. Assessed values may change significantly and unexpectedly over
     short periods. We are not liable for any conclusions in the report that may be different if there are subsequent
     changes in value. We are not liable for loss relating to reliance upon our report more than three months after its
     date.
3.   There may be differences between projected and actual results because events and circumstances frequently
     do not occur as predicted, and those differences may be material. We are not liable for any loss arising from
     these differences.
4.   We are not obligated to predict future political, economic or social trends. We assume no responsibility for
     economic factors that may affect or alter the opinions in the report if the economic factors were not present as
     of the date of the letter of transmittal accompanying the report.
5.   The report reflects an appraisal of the property free of any liens or encumbrances unless otherwise stated.
6.   We assume responsible ownership and competent property management.
7.   The appraisal process requires information from a wide variety of sources. We have assumed that all
     information furnished by others is correct and complete, up to date and can be relied upon, but no warranty is
     given for its accuracy. We do not accept responsibility for erroneous information provided by others. We assume
     that no information that has a material effect on our appraisal has been withheld.
8.   We assume the following, unless informed to the contrary in writing: Each property has a good and marketable
     title. All documentation is satisfactorily drawn and that there are no encumbrances, restrictions, easements or
     other adverse title conditions, which would have a material effect on the value of the interest under
     consideration. There is no material litigation pending involving the property. All information provided by the
     Client, or its agents, is correct, up to date and can be relied upon. We are not responsible for considerations
     requiring expertise in other fields, including but not limited to: legal descriptions, interpretation of legal
     documents and other legal matters, geologic considerations such as soils and seismic stability, engineering, or
     environmental and toxic contaminants. We recommend that you engage suitable consultants to advise you on
     these matters.
9.   We assume that all engineering studies correct. The plot plans and illustrative material in the report are
     included only to help the reader visualize the property.
10. We assume that there are no hidden or unapparent conditions of the property, subsoil or structures that render
    it more or less valuable. We are not responsible for such conditions or for obtaining the engineering studies that
    may be required to discover them.
11. We assume that the property is in full compliance with all applicable federal, state, and local environmental
    regulations and laws unless the lack of compliance is stated, described, and considered in the report. We have
    not made or requested any environmental impact studies in conjunction with the report. We reserve the right to

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             Case 20-10343-LSS               Doc 1762-2         Filed 11/30/20         Page 15 of 18
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    revise or rescind any opinion of value that is based upon any subsequent environmental impact studies. If any
    environmental impact statement is required by law, the report assumes that such statement will be favorable
    and will be approved by the appropriate regulatory bodies.
12. Unless otherwise stated in the report, you should assume that we did not observe any hazardous materials on
    the property. We have no knowledge of the existence of such materials on or in the property; however, we are
    not qualified to detect such substances, and we are not providing environmental services. The presence of
    substances such as asbestos, urea-formaldehyde foam insulation and other potentially hazardous materials
    may affect the value of the property. Our report assumes that there is no such material on or in the property
    that would cause a loss in value. We do not assume responsibility for such conditions or for any expertise or
    engineering knowledge required to discover them. We encourage you to retain an expert in this field, if desired.
    We are not responsible for any such environmental conditions that exist or for any engineering or testing that
    might be required to discover whether such conditions exist. We are not experts in the field of environmental
    conditions, and the report is not an environmental assessment of the property.
13. We may have reviewed available flood maps and may have noted in the report whether the property is generally
    located within or out of an identified Special Flood Hazard Area. However, we are not qualified to detect such
    areas and therefore do not guarantee such determinations. The presence of flood plain areas and/or wetlands
    may affect the value of the property. Any opinion of value we include in our report assumes that floodplain
    and/or wetlands interpretations are accurate.
14. We have not made a specific survey or analysis of the property to determine whether it is in compliance with the
    Americans with Disabilities Act (“ADA”), Stark law or any anti-kickback laws. We claim no expertise in such issues
    and render no opinion regarding compliance of you or the property with ADA, Stark law or anti-kickback law or
    regulations.
15. We assume that the property conforms to all applicable zoning and use regulations and restrictions unless we
    have identified, described and considered a non-conformity in the report.
16. We assume that all required licenses, certificates of occupancy, consents, and other legislative or administrative
    authority from any local, state, or national government or private entity or organization have been or can be
    obtained or renewed for any use on which the opinion of value contained in the report is based.
17. We assume that the use of the land and improvements is confined within the boundaries or property lines of the
    property described and that there is no encroachment or trespass unless noted in the report.
18. We have not made any investigation of the financial standing of actual or prospective tenants unless specifically
    noted in the report. Where properties are valued with the benefit of leasing, we assume, unless we are informed
    otherwise, that the tenants are capable of meeting their financial obligations under the leases, all rent and other
    amounts payable under the leases have been paid when due, and that there are no undisclosed breaches of the
    leases.
19. We did not conduct a formal survey of the property and assume no responsibility for any survey matters. The
    Client has supplied the spatial data, including sketches and/or surveys included in the report, and we assume
    that data is correct, up to date and can be relied upon.
20. Unless otherwise stated, the opinion of value included in our report excludes any additional value attributable
    to goodwill, or to fixtures and fittings which are only of value, in situ, to the present occupier. We have made no
    allowance for any plant, machinery or equipment unless they form an integral part of the building and would
    normally be included in a sale of the building. We do not normally carry out or commission investigations into


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             Case 20-10343-LSS               Doc 1762-2          Filed 11/30/20         Page 16 of 18
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    the capacity or condition of services being provided to the property. We assume that the services, and any
    associated controls or software, are in working order and free from defect. We also assume that the services are
    of sufficient capacity to meet current and future needs.
21. In the case of property where construction work is in progress, such as refurbishment or repairs, or where
    developments are in progress, we have relied upon cost information supplied to us by the Client or its
    appointed experts or upon industry accepted cost guides. In the case of property where construction work is in
    progress, or has recently been completed, we do not make allowance for any liability already incurred, but not
    yet discharged, in respect of completed work, or obligations in favor of contractors, subcontractors or any
    members of the professional or design team. We assume the satisfactory completion of construction, repairs or
    alterations in a workmanlike manner.
22. Any allocation in the report of value between the land and the improvements applies only under the stated
    program of utilization. The separate values allocated to the land and buildings must not be used in conjunction
    with any other appraisal and are invalid if so used.
23. The report is confidential to the party to whom it is addressed and those other intended users specified in the
    report for the specific purpose to which it refers. Use of the report for any other purpose or use by any party not
    identified as an intended user of the report without our prior written consent is prohibited, and we accept no
    responsibility for any use of the report in violation of the terms of this Agreement.
24. We are not required to testify or provide court-related consultation or to be in attendance in court unless we
    have agreed to do so in writing.
25. Neither the whole report, nor any part, nor reference thereto, may be published in any manner without our prior
    written approval, subject to your right to share the report with designated parties, who will in each case be
    subject to the Confidentiality and Protective Order.
26. We may rely on, and will not verify, the accuracy and sufficiency of documents, information and assumptions
    provided to it by the Client or others. We will not verify documents, information and assumptions derived from
    industry sources or that JLL or its affiliates have prepared in the regular course of business. We are not liable for
    any deficiency in the report arising from the inaccuracy or insufficiency of such information, documents and
    assumptions. However, our report will be based on our professional evaluation of all such available sources of
    information.
27. JLL IS NOT LIABLE TO ANY PERSON OR ENTITY FOR LOSS OF PROFITS, CONSEQUENTIAL, PUNITIVE, EXEMPLARY
    OR SIMILAR DAMAGES IN CONNECTION WITH THIS AGREEMENT. IN NO EVENT SHALL THE LIABILITY OF JLL AND
    ITS AFFILIATES IN CONNECTION WITH THIS AGREEMENT EXCEED THE FEE PAID TO JLL HEREUNDER.
28. Unless expressly advised to the contrary, we assume that appropriate insurance coverage is and will continue to
    be available on commercially acceptable terms.
29. We assume that no material changes in any applicable federal, state or local laws, regulations or codes
    (including, without limitation, the Internal Revenue Code) are anticipated.
30. We may determine during the course of the assignment that additional Hypothetical Conditions and
    Extraordinary Assumptions may be required in order to complete the assignment. The report will be subject to
    those Hypothetical Conditions and Extraordinary Assumptions. Each person that is permitted to use the report
    agrees to be bound by all the Assumptions and Limiting Conditions and any Hypothetical Conditions and
    Extraordinary Assumptions stated in the report.


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                Case 20-10343-LSS   Doc 1762-2   Filed 11/30/20   Page 17 of 18
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                                                                                           11
            Case 20-10343-LSS          Doc 1762-2       Filed 11/30/20      Page 18 of 18
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JLL Valuation Advisory is pleased to be completing valuation services relating to your property. The
following represents a general request of items specific to your property type. Some items may not
apply or be readily available. Please reach out anytime with questions.
Financial information

1. Budgeted capital expenditures.
2. Actual capital expenditures over the past 24 months.
3. Details of a pending sale agreement or sales within past 3 years. A copy of purchase & sale
    agreement or offering memorandum is preferred.

Property information

1. Site survey, site plan, legal description or plat map.
2. Year built and year of any additions, recent renovations or planned construction.
3. Gross building area (total square feet) and net rentable area.
4. Copy of floor plans showing location of tenants, if available.
5. Copy of marketing brochure that includes rental rates and other ancillary charges.
6. Ad Valorem tax bill (real property and personal property, if applicable).




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